Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 1 of 48 Page ID #:486
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 2 of 48 Page ID #:487
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 3 of 48 Page ID #:488
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 4 of 48 Page ID #:489
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 5 of 48 Page ID #:490
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 6 of 48 Page ID #:491
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 7 of 48 Page ID #:492
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 8 of 48 Page ID #:493
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 9 of 48 Page ID #:494
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 10 of 48 Page ID
                                   #:495
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 11 of 48 Page ID
                                   #:496
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 12 of 48 Page ID
                                   #:497
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 13 of 48 Page ID
                                   #:498
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 14 of 48 Page ID
                                   #:499
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 15 of 48 Page ID
                                   #:500
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 16 of 48 Page ID
                                   #:501
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 17 of 48 Page ID
                                   #:502
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 18 of 48 Page ID
                                   #:503
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 19 of 48 Page ID
                                   #:504
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 20 of 48 Page ID
                                   #:505
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 21 of 48 Page ID
                                   #:506
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 22 of 48 Page ID
                                   #:507
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 23 of 48 Page ID
                                   #:508
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 24 of 48 Page ID
                                   #:509
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 25 of 48 Page ID
                                   #:510
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 26 of 48 Page ID
                                   #:511
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 27 of 48 Page ID
                                   #:512
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 28 of 48 Page ID
                                   #:513
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 29 of 48 Page ID
                                   #:514
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 30 of 48 Page ID
                                   #:515
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 31 of 48 Page ID
                                   #:516
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 32 of 48 Page ID
                                   #:517
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 33 of 48 Page ID
                                   #:518
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 34 of 48 Page ID
                                   #:519
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 35 of 48 Page ID
                                   #:520
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 36 of 48 Page ID
                                   #:521
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 37 of 48 Page ID
                                   #:522
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 38 of 48 Page ID
                                   #:523
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 39 of 48 Page ID
                                   #:524
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 40 of 48 Page ID
                                   #:525
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 41 of 48 Page ID
                                   #:526
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 42 of 48 Page ID
                                   #:527
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 43 of 48 Page ID
                                   #:528
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 44 of 48 Page ID
                                   #:529
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 45 of 48 Page ID
                                   #:530
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 46 of 48 Page ID
                                   #:531
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 47 of 48 Page ID
                                   #:532
Case 8:19-cv-01422-JLS-JDE Document 18-7 Filed 01/17/20 Page 48 of 48 Page ID
                                   #:533
